

ON RETURN TO REMAND

BOWEN, Judge.
The appellant was convicted of and was sentenced for two counts of failing to redeliver a leased vehicle in violation of Ala.Code 1975, § 32-15-6. However, the appellant should have been sentenced for one conviction only because, as the trial court acknowledged, the appellant had committed only one criminal act. On original submission, this Court remanded this cause to the circuit court for that court to set aside one of the appellant’s convictions and the sentence relating to that conviction. 659 So.2d 980. The trial court has effectively complied with these instructions.
The judgment of the circuit court is affirmed.
OPINION EXTENDED; AFFIRMED.
All Judges concur.
